  Case 3:19-cv-00889-REP Document 14 Filed 01/17/20 Page 1 of 3 PageID# 184



                         IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF VIRGINIA
                                    Richmond Division



 DEVIN G. NUNES,

                        Plaintiff,

         v.                                          Civil No.: 3:19-CV-00889

 CABLE NEWS NETWORK, INC.,

                        Defendant.


                                     MOTION TO TRANSFER

        Pursuant to 28 U.S.C. § 1404(a), Defendant Cable News Network, Inc., by and through

undersigned counsel, hereby moves to transfer the case to the Southern District of New York. As

set forth more fully in the Memorandum of Law submitted in support of this Motion, the grounds

for the transfer are:

    1. Plaintiff could have brought his claim in the Southern District of New York; and

    2. The applicable factors to consider under § 1404(a), including the interests of justice and

convenience of the parties and witnesses, support transfer to the Southern District of New York.

        Defendant respectfully requests oral argument on this motion.

        WHEREFORE, Defendant respectfully requests that the Court enter an order granting the

Motion to Transfer.


 Dated: January 17, 2020                 Respectfully submitted,

                                         WILLIAMS & CONNOLLY LLP

                                         By:    /s/ Dane H. Butswinkas

                                         Dane H. Butswinkas (VSB No. 30562)
Case 3:19-cv-00889-REP Document 14 Filed 01/17/20 Page 2 of 3 PageID# 185



                              Kevin T. Baine (pro hac vice application pending)
                              Stephen J. Fuzesi (pro hac vice)

                              725 Twelfth Street, N.W.
                              Washington, DC 20005
                              Telephone: (202) 434-5000
                              Facsimile: (202) 434-5029
                              kbaine@wc.com

                              Attorneys for Cable News Network, Inc.




                                     2
 Case 3:19-cv-00889-REP Document 14 Filed 01/17/20 Page 3 of 3 PageID# 186



                               CERTIFICATE OF SERVICE

       I hereby certify that on the 17th day of January 2020, I caused a true and correct copy of

the foregoing Motion to Transfer of Defendant Cable News Network, Inc. to be served on counsel

of record via the Court’s CM/ECF system.



                                            /s/ Dane H. Butswinkas

                                            Dane H. Butswinkas
